         Case 19-34446 Document 2 Filed in TXSB on 08/07/19 Page 1 of 15



                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

                                §
In re:                          §           Chapter 11
                                §
HALCÓN RESOURCES CORPORATION, §             Case No. 19-34446 (DRJ)
                                §
                    Debtor.     §
                                §           (Emergency Hearing Requested)
Tax I.D. No. XX-XXXXXXX         §
                                §
                                §
In re:                          §           Chapter 11
                                §
HALCÓN RESOURCES OPERATING,     §           Case No. 19-34447 (DRJ)
INC.,                           §
                    Debtor.     §
                                §           (Emergency Hearing Requested)
Tax I.D. No. XX-XXXXXXX         §
                                §
                                §
In re:                          §           Chapter 11
                                §
HALCÓN HOLDINGS, INC.,          §           Case No. 19-34448 (DRJ)
                                §
                    Debtor.     §
                                §           (Emergency Hearing Requested)
Tax I.D. No. XX-XXXXXXX         §
                                §
                                §
In re:                          §           Chapter 11
                                §
HALCÓN ENERGY PROPERTIES, INC., §           Case No. 19-34449 (DRJ)
                                §
                    Debtor.     §
                                §           (Emergency Hearing Requested)
Tax I.D. No. XX-XXXXXXX         §
                                §
           Case 19-34446 Document 2 Filed in TXSB on 08/07/19 Page 2 of 15



                                        §
  In re:                                §       Chapter 11
                                        §
  HALCÓN PERMIAN, LLC,                  §       Case No. 19-34450 (DRJ)
                                        §
                              Debtor.   §
                                        §       (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                §
                                        §
                                        §
  In re:                                §       Chapter 11
                                        §
  HALCÓN FIELD SERVICES, LLC,           §       Case No. 19-34451 (DRJ)
                                        §
                              Debtor.   §
                                        §       (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                §
                                        §
                                        §
  In re:                                §       Chapter 11
                                        §
  HALCÓN OPERATING CO., INC.,           §       Case No. 19-34452 (DRJ)
                                        §
                              Debtor.   §
                                        §       (Emergency Hearing Requested)
 Tax I.D. No. XX-XXXXXXX                §
                                        §

                EMERGENCY MOTION OF DEBTORS PURSUANT
          TO FED. R. BANKR. P. 1015(b) AND LOCAL RULE 1015-1 FOR AN
        ORDER DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

      EMERGENCY RELIEF HAS BEEN REQUESTED. A HEARING WILL BE
      CONDUCTED ON THIS MATTER ON AUGUST 8, 2019 AT 10:45 AM
      (PREVAILING CENTRAL TIME) IN COURTROOM 400, 4th FLOOR, 515
      RUSK STREET, HOUSTON, TX 77002. IF YOU OBJECT TO THE RELIEF
      REQUESTED OR YOU BELIEVE THAT EMERGENCY CONSIDERATION IS
      NOT WARRANTED, YOU MUST EITHER APPEAR AT THE HEARING OR
      FILE A WRITTEN RESPONSE PRIOR TO THE HEARING. OTHERWISE,
      THE COURT MAY TREAT THE PLEADING AS UNOPPOSED AND GRANT
      THE RELIEF REQUESTED.

      RELIEF IS REQUESTED NOT LATER THAN AUGUST 8, 2019.




                                            2
WEIL:\97075203\6\51351.0003
           Case 19-34446 Document 2 Filed in TXSB on 08/07/19 Page 3 of 15



                    Halcón Resources Corporation and its debtor affiliates in the above-captioned

chapter 11 cases, as debtors and debtors in possession (collectively, the “Debtors”), respectfully

represent as follows in support of this motion (the “Motion”):

                                                 Background

                    1.        On the date hereof (the “Petition Date”), the Debtors each commenced with

this Court a voluntary case under chapter 11 of title 11 of the United States Code (the “Bankruptcy

Code”). The Debtors are authorized to continue to operate their business and manage their

properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

No trustee, examiner, or statutory committee of creditors has been appointed in these chapter 11

cases.

                    2.        On August 2, 2019, the Debtors executed a restructuring support agreement

(the “RSA”) with members of an ad hoc group (the “Ad Hoc Group” and, collectively with other

creditors that sign joinders to the RSA, the “Consenting Creditors”) that hold approximately

67.3% of the outstanding principal amount under the 6.75% Senior Notes due 2025 issued under

that certain indenture, dated as of February 16, 2017 (as amended, modified, or otherwise

supplemented from time to time). Pursuant to the RSA, the Consenting Creditors agreed to vote

in favor of and support confirmation of the Joint Prepackaged Chapter 11 Plan of Halcón

Resources Corporation and Its Affiliated Debtors (the “Prepackaged Plan”).

                    3.        Prior to the Petition Date, on August 3, 2019, the Debtors commenced the

solicitation of votes from the only class of claims being solicited under the Prepackaged Plan

through their Disclosure Statement for Joint Prepackaged Chapter 11 Plan of Halcón Resources

Corporation and Its Affiliated Debtors pursuant to sections 1125 and 1126(b) of the Bankruptcy

Code. Consistent with their obligations under the RSA, the Debtors are seeking to emerge from

chapter 11 on an expedited basis.
                                                      3
WEIL:\97075203\6\51351.0003
           Case 19-34446 Document 2 Filed in TXSB on 08/07/19 Page 4 of 15



                    4.        Additional information regarding the Debtors’ business and capital

structure and the circumstances leading to the commencement of these chapter 11 cases is set forth

in the Declaration of Albert S. Conly in Support of the Debtors’ Chapter 11 Petitions and First

Day Relief, sworn to on the date hereof (the “Conly Declaration”),1 which has been filed with the

Court contemporaneously herewith and is incorporated by reference herein.

                                                  Jurisdiction

                    5.        The Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                               Relief Requested

                    6.        By this Motion, pursuant to Rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 1015-1 of the Local Bankruptcy Rules

for the United States Bankruptcy Court for the Southern District of Texas (the “Local Rules”), the

Debtors request entry of an order directing consolidation of their chapter 11 cases for procedural

purposes only.

                    7.        A proposed form of order granting the relief requested herein is annexed

hereto as Exhibit A (the “Proposed Order”).

                                    Relief Requested Should be Granted

                    8.        Bankruptcy Rule 1015(b) provides, in relevant part, that “[i]f . . . two or

more petitions are pending in the same court by or against . . . a debtor and an affiliate, the court

may order a joint administration of the estates.” Fed. R. Bankr. P. 1015(b). Under section 101(2)

of the Bankruptcy Code, the term “affiliate” means:


1
  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Prepackaged Plan or the Conly Declaration.

                                                         4
WEIL:\97075203\6\51351.0003
           Case 19-34446 Document 2 Filed in TXSB on 08/07/19 Page 5 of 15



                    (A) [an] entity that directly or indirectly owns, controls, or holds
                    with power to vote, 20 percent or more of the outstanding voting
                    securities of the debtor, other than an entity that holds such
                    securities—

                              (i) in a fiduciary or agency capacity without sole
                              discretionary power to vote such securities; or

                              (ii) solely to secure a debt, if such entity has not in
                              fact exercised such power to vote;

                    (B) [a] corporation 20 percent or more of whose outstanding voting
                    securities are directly or indirectly owned, controlled, or held with
                    power to vote, by the debtor, or by an entity that directly or indirectly
                    owns, controls, or holds with power to vote, 20 percent or more of
                    the outstanding voting securities of the debtor, other than an entity
                    that holds such securities—

                              (i) in a fiduciary or agency capacity without sole
                              discretionary power to vote such securities; or

                              (ii) solely to secure a debt, if such entity has not in
                              fact exercised such power to vote . . . .

11 U.S.C. § 101(2). In addition, Local Rule 1015-1 provides for the joint administration of related

chapter 11 cases. The Debtors are affiliates of one another because Halcón Resources Corporation

owns, either directly or indirectly, 100% of the outstanding voting interests in each of the other

Debtors. Accordingly, this Court is authorized to jointly administer these cases for procedural

purposes.

                    9.        Joint administration of these cases will save the Debtors and their estates

substantial time and expense because it will remove the need to prepare, replicate, file, and serve

duplicative notices, applications, and orders. Joint administration will also relieve the Court from

entering duplicative orders and maintaining duplicative files and dockets. The United States

Trustee for the Southern District of Texas and other parties in interest will similarly benefit from

joint administration of these chapter 11 cases, sparing them the time and effort of reviewing

duplicative dockets, pleadings, and papers.

                                                        5
WEIL:\97075203\6\51351.0003
           Case 19-34446 Document 2 Filed in TXSB on 08/07/19 Page 6 of 15



                    10.       Joint administration will not adversely affect creditors’ rights because this

Motion requests only the administrative consolidation of the estates for procedural purposes and

does not seek substantive consolidation. As such, each creditor will continue to hold its claim

against a particular Debtor’s estate after this Motion is approved.

                    11.       The Debtors respectfully request that these cases be administered under the

following caption:

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                     §
In re:                                               §        Chapter 11
                                                     §
HALCÓN RESOURCES                                     §
CORPORATION, et al.,                                 §        Case No. 19-34446 (DRJ)
                                                     §
                    Debtors.1                        §        (Jointly Administered)
                                                     §
1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Halcón Resources Corporation (0684), Halcón Resources Operating, Inc. (4856), Halcón
Holdings, Inc. (5102), Halcón Energy Properties, Inc. (5292), Halcón Permian, LLC (6153), Halcón Field Services,
LLC (0280), and Halcón Operating Co., Inc. (3588). The Debtors’ mailing address is 1000 Louisiana St., Suite 1500,
Houston, TX 77002.

                    12.       The Debtors also request that the following notation be entered on the

docket in each Debtor’s chapter 11 case (other than the chapter 11 case of Halcón Resources

Corporation) to reflect the joint administration of these cases:

                    An order has been entered in this case directing the procedural
                    consolidation and joint administration of the chapter 11 cases of
                    Halcón Resources Corporation, et al. The docket in Case No. 19-
                    34446 (DRJ) should be consulted for all matters affecting this case.

                    13.       The relief requested herein is necessary, appropriate, and in the best

interests of the Debtors, their estates, and all other parties in interest in these cases. Accordingly,

the Court should authorize the relief requested.

                                                         6
WEIL:\97075203\6\51351.0003
           Case 19-34446 Document 2 Filed in TXSB on 08/07/19 Page 7 of 15



                                                     Notice

                    14.       Notice of this Motion will be provided to (i) the Office of the United States

Trustee for the Southern District of Texas; (ii) the holders of the 30 largest unsecured claims

against the Debtors on a consolidated basis; (iii) Paul, Weiss, Rifkind, Wharton & Garrison LLP,

1285 Avenue of the Americas, New York, New York 10019 (Attn: Andrew Rosenberg, Esq.,

Robert Britton, Esq., and Samuel Lovett, Esq.), counsel to the Ad Hoc Group; (iv) Simpson,

Thacher & Bartlett LLP, 425 Lexington Avenue, New York, New York 10017 (Attn: Elisha Graff,

Esq. and Nicholas Baker, Esq.), counsel to JPMorgan Chase Bank, N.A., as administrative agent

under the RBL Agreement; (v) Ballard Spahr LLP, 2000 IDS Center, 80 S. 8th Street, Minneapolis,

Minnesota 55402 (Attn: Mark Dietzen, Esq.), counsel to Wilmington Trust, National Association,

as administrative agent under the DIP Agreement; (vi) the Internal Revenue Service; (vii) the

United States Attorney’s Office for the Southern District of Texas; (viii) the Securities and

Exchange Commission; (ix) any party that has requested notice pursuant to Bankruptcy Rule 2002;

and (x) any other party entitled to notice pursuant to Local Rule 9013 1(d).

                                             No Previous Request

                    15.       No previous request for the relief sought herein has been made by the

Debtors to this or any other court.




                                                        7
WEIL:\97075203\6\51351.0003
           Case 19-34446 Document 2 Filed in TXSB on 08/07/19 Page 8 of 15



                    WHEREFORE the Debtors respectfully request entry of the Proposed Order

granting the relief requested herein and such other and further relief as the Court may deem just

and appropriate.

Dated: August 7, 2019
       Houston, Texas
                                               /s/ Alfredo R. Pérez
                                             WEIL, GOTSHAL & MANGES LLP
                                             Alfredo R. Pérez (15776275)
                                             700 Louisiana Street, Suite 1700
                                             Houston, Texas 77002
                                             Telephone: (713) 546-5000
                                             Facsimile: (713) 224-9511
                                             Email: Alfredo.Perez@weil.com
                                             -and-

                                             WEIL, GOTSHAL & MANGES LLP
                                             Gary Holtzer (pro hac vice pending)
                                             Lauren Tauro (pro hac vice pending)
                                             767 Fifth Avenue
                                             New York, New York 10153
                                             Telephone: (212) 310-8000
                                             Facsimile: (212) 310-8007
                                             Email: Gary.Holtzer@weil.com
                                             Proposed Attorneys for Debtors
                                             and Debtors in Possession




                                                8
WEIL:\97075203\6\51351.0003
         Case 19-34446 Document 2 Filed in TXSB on 08/07/19 Page 9 of 15



                                       Certificate of Service

I hereby certify that on August 7, 2019, a true and correct copy of the foregoing document was
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas, and will be served as set forth in the Affidavit of Service to be filed by
the Debtors’ proposed claims, noticing, and solicitation agent.



                                                         /s/ Alfredo R. Pérez
                                                        Alfredo R. Pérez
Case 19-34446 Document 2 Filed in TXSB on 08/07/19 Page 10 of 15



                           Exhibit A

                         Proposed Order
         Case 19-34446 Document 2 Filed in TXSB on 08/07/19 Page 11 of 15



                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

                                §
In re:                          §            Chapter 11
                                §
HALCÓN RESOURCES CORPORATION, §              Case No. 19-34446 (DRJ)
                                §
                    Debtor.     §
                                §
Tax I.D. No. XX-XXXXXXX         §
                                §
                                §
In re:                          §            Chapter 11
                                §
HALCÓN RESOURCES OPERATING,     §            Case No. 19-34447 (DRJ)
INC.,                           §
                    Debtor.     §
                                §
Tax I.D. No. XX-XXXXXXX         §
                                §
                                §
In re:                          §            Chapter 11
                                §
HALCÓN HOLDINGS, INC.,          §            Case No. 19-34448 (DRJ)
                                §
                    Debtor.     §
                                §
Tax I.D. No. XX-XXXXXXX         §
                                §
                                §
In re:                          §            Chapter 11
                                §
HALCÓN ENERGY PROPERTIES, INC., §            Case No. 19-34449 (DRJ)
                                §
                    Debtor.     §
                                §
Tax I.D. No. XX-XXXXXXX         §
                                §
             Case 19-34446 Document 2 Filed in TXSB on 08/07/19 Page 12 of 15



                                                           §
    In re:                                                 §        Chapter 11
                                                           §
    HALCÓN PERMIAN, LLC,                                   §        Case No. 19-34450 (DRJ)
                                                           §
                               Debtor.                     §
                                                           §
    Tax I.D. No. XX-XXXXXXX                                §
                                                           §
                                                           §
    In re:                                                 §        Chapter 11
                                                           §
    HALCÓN FIELD SERVICES, LLC,                            §        Case No. 19-34451 (DRJ)
                                                           §
                               Debtor.                     §
                                                           §
    Tax I.D. No. XX-XXXXXXX                                §
                                                           §
                                                           §
    In re:                                                 §        Chapter 11
                                                           §
    HALCÓN OPERATING CO., INC.,                            §        Case No. 19-34452 (DRJ)
                                                           §
                               Debtor.                     §
                                                           §
    Tax I.D. No. XX-XXXXXXX                                §
                                                           §

            ORDER PURSUANT TO FED. R. BANKR. P. 1015(b) AND LOCAL
       RULE 1015-1 DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

                    Upon the motion, dated August 7, 2019 (the “Motion”),1 of Halcón Resources

Corporation and its affiliated debtors in the above-captioned chapter 11 cases, as debtors and

debtors in possession (collectively, the “Debtors”), for entry of an order pursuant to Bankruptcy

Rule 1015(b) and Local Rule 1015-1 directing joint administration of their chapter 11 cases, all as

more fully set forth in the Motion; and upon consideration of the Conly Declaration; and this Court

having jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C.




1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.



                                                               2
        Case 19-34446 Document 2 Filed in TXSB on 08/07/19 Page 13 of 15



§§ 157 and 1334; and consideration of the Motion and the requested relief being a core proceeding

pursuant to 28 U.S.C. § 157(b); and it appearing that venue is proper before this Court pursuant to

28 U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been provided; and

such notice having been adequate and appropriate under the circumstances, and it appearing that

no other or further notice need be provided; and this Court having reviewed the Motion; and this

Court having held a hearing to consider the relief requested in the Motion; and all objections, if

any, to the Motion having been withdrawn, resolved, or overruled; and this Court having

determined that the legal and factual bases set forth in the Motion establish just cause for the relief

granted herein; and it appearing that the relief requested in the Motion is in the best interests of the

Debtors and their respective estates and creditors; and after due deliberation and sufficient cause

appearing therefor,

               IT IS HEREBY ORDERED THAT

               1.      The Motion is granted as set forth herein.

               2.      The above-captioned chapter 11 cases are consolidated for procedural

purposes only and shall be jointly administered by the Court under Case No. 19-34446 (DRJ).

Additionally, the following checked items are ordered:

               One disclosure statement and plan of reorganization may be filed for all
            cases by any plan proponent.

               Parties may request joint hearings on matters pending in any of the jointly
            administered cases.

                Other: See below.

               3.      Nothing contained in this Order shall be deemed or construed as directing

or otherwise affecting the substantive consolidation of any of the above-captioned cases, the




                                                   3
         Case 19-34446 Document 2 Filed in TXSB on 08/07/19 Page 14 of 15



Debtors, or the Debtors’ estates. The caption of the jointly administered cases should read as

follows:

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                     §
In re:                                               §       Chapter 11
                                                     §
HALCÓN RESOURCES                                     §
CORPORATION, et al.,                                 §       Case No. 19-34446 (DRJ)
                                                     §
                 Debtors.1                           §       (Jointly Administered)
                                                     §
1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Halcón Resources Corporation (0684), Halcón Resources Operating, Inc. (4856), Halcón
Holdings, Inc. (5102), Halcón Energy Properties, Inc. (5292), Halcón Permian, LLC (6153), Halcón Field Services,
LLC (0280), and Halcón Operating Co., Inc. (3588). The Debtors’ mailing address is 1000 Louisiana St., Suite 1500,
Houston, TX 77002.

                 4.       A docket entry shall be made in each of the above-captioned cases (except

the chapter 11 case of Halcón Resources Corporation) substantially as follows:

                 An order has been entered in this case directing the procedural
                 consolidation and joint administration of the chapter 11 cases of
                 Halcón Resources Corporation, et al. The docket in Case No.
                 19-34446 (DRJ) should be consulted for all matters affecting this
                 case.

                 5.       The Debtors shall maintain, and the Clerk of the United States Bankruptcy

Court for the Southern District of Texas shall keep, one consolidated docket, one file, and one

consolidated service list for these chapter 11 cases.

                 6.       The Debtors are authorized to take all actions necessary or appropriate to

carry out the relief granted in this Order.




                                                         4
         Case 19-34446 Document 2 Filed in TXSB on 08/07/19 Page 15 of 15



               7.     This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this Order.


Dated:                         , 2019
         Houston, Texas

                                             UNITED STATES BANKRUPTCY JUDGE




                                                5
